              Case 2:09-cr-20004-RTD     Document 35    Filed 03/23/09   Page 1 of 1 PageID #: 75



                                       IN THE UNITED STATES DISTRICT COURT
                                           WESTERN DISTRICT OF ARKANSAS
                                                FORT SMITH DIVISION

                  UNITED STATES OF AMERICA                                                PLAINTIFF

                        v.                  Criminal No. 2:09–20004-001

                  JOHN GRAVES                                                             DEFENDANT

                                                       O R D E R

                        Now on this 23rd day of March, 2009, there comes on for

                  consideration, the Motion to Withdraw as counsel of record for

                  Defendant (Doc. 34) filed by Mark J. Mobley.             The Court, being well

                  and sufficiently advised in the premises, finds that the Motion

                  should be and hereby is GRANTED.            Accordingly, Mark J. Mobley is

                  permitted    to      withdraw   as   counsel     for   Defendant.       Defendant

                  continues to be represented by Ernie Witt.

                        IT IS SO ORDERED this 23rd day of March 2009.



                                                               /s/ Robert T. Dawson
                                                               Honorable Robert T. Dawson
                                                               United States District Judge




AO72A
(Rev. 8/82)
